                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                              Case No. 5:22-CV-00068-BO




 YOLANDA IRVING, et al.                           )
                                                  )
                                                          ORDER GRANTING PLAINTIFFS’
                              Plaintiffs,         )
                                                         MOTION FOR AN EXTENSION OF
                                                  )
                                                         TIME TO FILE A RESPONSE BRIEF
 v.                                               )
                                                           AND FOR A WORD AND PAGE
                                                  )
                                                               COUNT EXTENSION
 THE CITY OF RALEIGH, et al.                      )
                                                  )
                                Defendants.       )
                                                  )


       This matter was heard by the undersigned on a motion by Plaintiffs, filed pursuant to Fed.

R. Civ. P. 6(b) to extend time to respond to defendants’ motions for summary judgement. And

pursuant to Local Civil Rules 7.1 and 7.2 for an enlargement of the word and page count to

15,000 words and 45 pages or less in a consolidated response brief.

       It appears to the Court that the time for responding has not expired, that defendants’

counsel has consented to the extension of time to respond and to the enlargement of the page and

word count, and that good cause exists to grant this motion.

       IT IS THEREFORE ORDERED that the deadline for responding to dispositive motions

is extended to June 1, 2023, and that Plaintiffs may respond in a consolidated brief of 15,000

words and 45 pages or less.

       This the ___ of April 2023.

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